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                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                             CENTRAL DIVISION AT LEXINGTON
                                   CASE NO. ___________

                                     – Filed Electronically –

A.V., by and through her
next friends T.V. and S.V.                                                           PLAINTIFF


vs.                                NOTICE OF REMOVAL


BOARD OF EDUCATION OF FAYETTE
COUNTY                                                                             DEFENDANT

                                        * ** * *** * ** *

MAY IT PLEASE THE COURT:

       Comes the Defendant, by counsel, and gives notice of the removal to this Court from

Division 9 of the Fayette Circuit Court, Lexington, Kentucky, a civil action styled A.V. by and

through her [sic] next friends T.V. and S.V. v. Board of Education of Fayette County; Civil Action

No. 21-CI-01368.

       In support of this removal, the Defendant states as follows:

       1.       The above-referenced state civil action was initiated by the filing in the Fayette

Circuit Court of a Complaint on or about May 5, 2021, against the Board of Education of Fayette

County. A copy of the Complaint is incorporated herein by reference and attached hereto as

Attachment 1.

       2.       On information and belief, the Complaint was served on May 7, 2021, via certified

mail. A copy of the summons is incorporated herein by reference and attached hereto as

Attachment 2. A copy of the return of service filed with the Fayette Circuit Court is incorporated

herein by reference and attached hereto as Attachment 3.
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       3.      The Complaint filed in the Fayette Circuit Court is an intended civil action over

which this Court may exercise original jurisdiction and is one that may be removed to this Court

by the Defendant herein, pursuant to the provisions of 28 U.S.C. §1441, et seq., in that, from the

Plaintiff’s Complaint, there exist federal questions arising under 29 U.S.C. §794 (§504 of the

Rehabilitation of 1973) and under the Americans with Disabilities Act (ADA), 42 U.S.C. §12133.

The Plaintiff has alleged broadly that the Defendant discriminated against him due to his alleged

status as an individual with a disability under Section 504 and the ADA, by failing to identify

reasonable accommodations and/or by failing to implement an accommodation plan which was

created for him. Pursuant to 28 U.S.C. §1331 and §1343, this Court has original jurisdiction over

these claims, except insofar as various defenses may apply. Pursuant to 28 U.S.C. §1367, this

Court has supplemental jurisdiction over the State law claim for violation of the Kentucky Civil

Rights Act (Complaint, ¶45, et seq.) and for violation of the Kentucky Constitution (Complaint,

¶51, et seq.), which arise out of the same facts and events as the federal claims. Therefore, this

action is properly removable under 28 U.S.C. §1441(a). Venue is appropriate in the Lexington

Docket of the Central Division of this Court because the events and alleged acts set out in the

Complaint occurred in Fayette County. See L.R. 3.1(a)(2)(B).

       4.      A responsive pleading has been filed by the Defendant in the Fayette Circuit Court.

A copy of the Answer is incorporated herein by reference and attached hereto as Attachment 4. A

copy of the available online docket sheet from the Fayette Circuit Court, reflecting the attachments

hereto constitute the full State court record, is incorporated herein by reference and attached hereto

as Attachment 5.




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        5.      The Defendant will promptly file a copy of this Notice of Removal with the Clerk

of the Fayette Circuit Court, giving immediate effect to this Court’s jurisdiction and causing an

immediate cessation of the State court’s exercise of jurisdiction pursuant to 28 U.S.C. §1446(d).

                WHEREFORE, the Defendant respectfully requests that the action now pending in

the Fayette Circuit Court be removed to this Court and that this Court exercise jurisdiction over

this matter until its conclusion.

                                             Respectfully submitted,

                                             PORTER, BANKS, BALDWIN & SHAW, PLLC
                                             Grant R. Chenoweth, Attorney
                                             327 Main Street
                                             P.O. Drawer 1767
                                             Paintsville, KY 41240
                                             Phone: 606-789-3747, Ext. 144
                                             Fax: 606-789-9862
                                             gchenoweth@psbb-law.com

                                             By:      s/ Grant R. Chenoweth
                                                    COUNSEL FOR DEFENDANT

                                    CERTIFICATE OF SERVICE

              I hereby certify that a true and accurate copy of the foregoing NOTICE OF
REMOVAL has been mailed, first class postage prepaid, to Edward E. Dove, Esq., 300 Lexington
Building, 201 West Short Street, Lexington, Kentucky 40507, on the 7th day of June, 2021.

                                                s/ Grant R. Chenoweth
                                             GRANT R. CHENOWETH




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